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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
     JUAN MARTINEZ, JOSE PIMENTAL, CARLOS
     CONTRERAS, EFRAIN REYES and JOWANY
     CASTILLO,

                                                         Plaintiffs, Case No. 21-cv-
                                                                     03613(GRB)(JMW)
                                - against -

     FELIKS & SON STORAGE TANK CORP., FELIKS &
     SON SERVICES, LLC AND FELIKS SWIERZEWSKI,

                                                       Defendants.


      DECLARATION OF STEVEN J. MOSER IN SUPPORT OF PLAINTIFFS’ MOTION
                         FOR DEFAULT JUDGMENT

            Steven John Moser declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, that

 the following is true and correct.

            1.       I am the attorney for the Plaintiffs in this action.

            2.       I am admitted to practice before this Court.

            3.       I submit this declaration in support of Plaintiffs’ motion for Default Judgment.

            4.       This action was commenced on June 28, 2021 against Feliks & Son Storage Tank

 Corp., Feliks & Son Services, LLC and Feliks Swierzewski, recover damages for violations of

 the Fair Labor Standards Act (FLSA), the New York Labor Law (NYLL) and its implementing

 regulations. 1

            5.       Feliks & Son Storage Tank Corp. and Feliks & Son Services, LLC (“the corporate

 defendants”) were served with the summons and complaint on August 2, 2021 and September



 1
     The Complaint is annexed hereto as Exhibit 1.
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 10, 2021, respectively. Despite diligent efforts, Plaintiffs were unable to serve Feliks

 Swierzewski. 2

          6.       The corporate defendants neither answered nor otherwise moved with regard to

 the complaint. On Plaintiff’s request, the Clerk noted the Default of the corporate defendants

 pursuant to Rule 55(a) on January 14, 2022. 3 Following several adjournments at Plaintiff’s

 request, the Court granted a final adjournment to May 20, 2022 to file this motion for a default

 judgment.

          7.       By this motion, Plaintiff seeks judgment as follows:

                                                             Statutory Dgs
                                      Liquidated             (NYLL 195-1          Interest
                  Overtime            Damages                & 195-3)             (CPLR)             Total
Carlos
Contreras           $ 31,249.52           $ 31,249.52           $ 10,000.00         $ 9,418.81         $ 81,917.86
Juan
Martinez            $ 61,970.95           $ 61,970.95           $ 5,000.00          $ 23,385.91        $ 152,327.81
Efrain
Reyes               $ 49,133.10           $ 49,133.10           $ 5,000.00          $ 16,579.35        $ 119,845.55
Jose
Pimental            $ 18,847.62           $ 18,847.62           $ 10,000.00         $ 5,384.25         $ 53,079.48
Jowany
Castillo            $ 10,872.86           $ 10,872.86           $ 10,000.00          $ 2,646.67         $ 34,392.39
Subtotal           $ 172,074.05          $ 172,074.05           $ 40,000.00         $ 57,415.00        $ 441,563.09

Attorneys' Fees                                                                                         $ 16,670.00
Costs                                                                                                     $ 857.00
TOTAL                                                                                                  $ 459,090.09




 2
   Although the judgment in this case will be solely against the corporate defendants, New York Business
 Corporation Law § 630 provides a mechanism for enforcement of a judgment for wages against the top 10
 shareholders. New York Limited Liability Company Law § 609(c) also provides a mechanism for enforcement of a
 judgment for wages against the 10 largest owners of a limited liability company. Plaintiffs have furnished notice of
 the intent
 3
   The Certificate of Default is Annexed hereto as Exhibit 2.
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            8.       Annexed hereto as Exhibit 3 are spreadsheets which I personally prepared setting

 forth the computation of Plaintiff’s damages. 4

            9.       Annexed hereto as Exhibit 4 is a statement showing detailed contemporaneous time

 records and expenses incurred.

                                     Basis for Attorney Hourly Fee Request

            10.      The attorneys’ fees requested are based upon an hourly rate of $500.00 per hour for

 my hours expended on the case, and $100 for paralegal hours expended.

            11.      I graduated from Fordham University School of Law in 1997 and was admitted to

 the bar of the State of New York the same year. I have 23 years of experience in litigation and 13

 years of experience in wage and hour litigation. I began my representation of workers with a non-

 profit agency that sought to educate and represent day laborers. I am admitted to the Eastern

 District of New York, the Southern District of New York, the Eastern District of Michigan, and

 the Second Circuit Court of Appeals.

            12.      I work almost exclusively in prosecuting wage and hour litigation in federal and

 state court. I speak Spanish fluently. I have litigated minimum wage, overtime, prevailing wage,

 spread of hours, and RICO claims in the Southern and Eastern Districts of New York.

            13.      I have been appointed as class counsel in wage and hour litigation in the Eastern

 and Southern Districts of New York, and in New York State Supreme Court including Serrano v.

 Mamais Contracting Corp. and Trustees of Columbia University in the City of New York, et al.,

 12-cv-06374 (LTS)(S.D.N.Y. October 15, 2013)(ECF No. 64), Mendez v. U.S. Nonwovens Corp.,

 314 F.R.D. 30, 35 (E.D.N.Y. 2016), Santamaria v. Nature's Value, Inc. et al, 15-cv-04535

 (GRB)(E.D.N.Y. January 4, 2017)(ECF No. 38), Guevara v. Sirob Imports, Inc., 15-cv-



 4
     The native Excel files are available upon request should the Court wish to examine them.
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 02895(SLT)(E.D.N.Y. February 7, 2020); Connors v. American Medical Response, 20-cv-05046

 (KHP)(S.D.N.Y. April 21, 2021)(ECF No. 32), Sanchez-Herrera v. Quadami, et al., Index No.

 1507/2016 (Supreme Court, Nassau County 2017), and De Los Santos v. New Food Corp., 14-cv-

 4541(AYS). I have been described as “an experienced FLSA attorney.” Chavez v. White Post

 Wholesale Growers, Inc., 12-cv-1348 (E.D.N.Y. December 18, 7 2012)(Seybert, J.).

                             Basis for Paralegal Hourly Fee Request

         14.     I am a managing partner with the Moser Law Firm, P.C. Paralegals working for

 the Moser Law Firm, P.C. must have the following qualifications: they must be bilingual in

 English and Spanish, have a bachelor’s degree in political science, English, or law, or possess a

 paralegal certificate.

         I declare under penalty of perjury, under 28 U.S.C. § 1746, that the foregoing is true and

 correct.


 Dated: Huntington, New York
        May 20, 2022



                                              Steven John Moser, Esq. (SM1133)
